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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


  LABORERS’ LOCAL #231 PENSION
  FUND, Individually and on Behalf of All
  Others Similarly Situated,

                        Plaintiff,

         v.                                        C.A. No. 1:17-cv-00478-CFC

  RORY J. COWAN, EDWARD A.                         CLASS ACTION
  BLECHSCHMIDT, MICHAEL G.
  DALLAS, GUY L. de CHAZAL, SUSAN
  JANE KANTOR, PAUL A. KAVANAUGH,
  JACK NOONAN, JAMES A. QUELLA,
  CLAUDE P. SHEER, MARC LITZ, H.I.G.
  CAPITAL L.L.C., and LBT ACQUISITION,
  INC.,

                        Defendants.

                                     NOTICE OF APPEAL

         Pursuant to Federal Rules of Appellate Procedure 3 and 4, notice is hereby given

  that lead plaintiff in this action, Laborers’ Local #231 Pension Fund—on behalf of itself

  and all others similarly situated— hereby appeals to the United States Court of Appeals for

  the Third Circuit from the following: (i) Judgment in a Civil Case (D.I. 240) entered on

  March 19, 2020; (ii) the Order granting summary judgment (D.I. 239) entered on March

  19, 2020; (iii) the Memorandum Opinion granting summary judgment (D.I. 238) entered

  on March 19, 2020; and (iv) the Memorandum Order denying leave to amend (D.I. 234)

  entered on February 7, 2020.
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   Dated: April 17, 2020




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